Case: 2:08-cv-00165-GLF-TPK Doc #: 96 Filed: 01/24/12 Page: 1 of 3 PAGEID #: 3605




                                         Case No. 09-3251

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                              ORDER



HILDA T. RICCIO; CAROL UBERTI; NATHAN CEDARLEAF; AILEEN M. MOENING,
Individually and on behalf of all others similarly situated,

              Plaintiffs - Appellants

v.

HUNTINGTON BANCSHARES, INC., et al.,

              Defendants - Appellees



     In accordance with Rule 33(d), Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33(d),
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Leonard Green, Clerk


Issued: January 20, 2012
                                                  ___________________________________
Case: 2:08-cv-00165-GLF-TPK Doc #: 96 Filed: 01/24/12 Page: 2 of 3 PAGEID #: 3606




                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                            100 EAST FIFTH STREET, ROOM 540
   Leonard Green           POTTER STEWART U.S. COURTHOUSE             Tel. (513) 564-7000
       Clerk                   CINCINNATI, OHIO 45202-3988           www.ca6.uscourts.gov




                                           Filed: January 20, 2012




Mr. Walter C. Carlson
Sidley Austin
One S. Dearborn Street
Chicago, IL 60603

Mr. Edward W. Ciolko
Kessler Topaz Meltzer & Check
280 King of Prussia Road
Radnor, PA 19087

Mr. T. David Copley
Keller Rohrback
1201 Third Avenue
Suite 3200
Seattle, WA 98101

Ms. Erin Elaine Kelly
Sidley Austin
One S. Dearborn Street
Chicago, IL 60603

Mr. Peter Houghton LeVan Jr.
Kessler Topaz Meltzer & Check
280 King of Prussia Road
Radnor, PA 19087

Mr. Derek W. Loeser
Keller Rohrback
1201 Third Avenue
Suite 3200
Seattle, WA 98101
Case: 2:08-cv-00165-GLF-TPK Doc #: 96 Filed: 01/24/12 Page: 3 of 3 PAGEID #: 3607




Mr. Lynn Lincoln Sarko
Keller Rohrback
1201 Third Avenue
Suite 3200
Seattle, WA 98101

Ms. Hille R. Sheppard
Sidley Austin
One S. Dearborn Street
Chicago, IL 60603

Mr. Bradd N. Siegel
Porter, Wright, Morris & Arthur
41 S. High Street
Suite 3200
Columbus, OH 43215

Mr. Robert Ward Trafford
Porter, Wright, Morris & Arthur
41 S. High Street
Suite 3200
Columbus, OH 43215

                 Re: Case No. 09-3251, Hilda Riccio, et al v. Huntington Bancshares, Inc., et al
                     Originating Case No. : 08-00165 : 08-00175 : 08-00197

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                              Sincerely yours,

                                              s/Connie A. Weiskittel
                                              Mediation Office


cc: Mr. James Bonini

Enclosure

No mandate to issue
